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                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


In re:                                        :         Chapter 13

Rhonda Lancaster                              :

               Debtor(s)                      :         Bankruptcy No. 16-17477 sr



                                           ORDER


                AND NOW, it is ORDERED that since the Debtor has failed to
         timely file all the documents required by the Order dated 10/25/2016,
         this case is hereby DISMISSED.




         Date: November 22, 2016
                                            Stephen Raslavich
                                            United States Bankruptcy Judge




         Missing Documents:


                      Certificate of Credit Counseling       (due 11/07/2016)
                      Statement of Financial Affairs
                      Schedules A/B, C, D, E/F, G, H, I, J
                      Summary of Assets and Liabilities Form B106Sum
                      Chapter 13 Statement of Current Monthly Income Form 122C-1
                      Means Test Calculation Form 122C-2
                      Chapter 13 Plan
